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EXHIBIT A

 

 

 

 

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10062309112017 Lackawanna County clerk/Judicial Records Pa e 1
P¥BPRT Civil Case Detail Report 9711/2017
Case No........... 2017-04260 MORGAN (vs) CAPITAL ONE
Reference No...... Filed.......... 8/03/2017
Cale Type......... MISCELLANEOUS - oTHER Time........... 10:51
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++ GENERAL INDEX ++

Indexed Partx Attorngr In£o
MORGAN MARGARET PLAINTIFF SUCEC JOSEPH T

325 PEACH GLEN IDAVILLE ROAD
GARDNERS, PA 17324

CAPITAL ONE FINANCIAL CORP DEFENDANT

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Date Ent£y Text
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RULE OF CIVIL PROCEDURE 240
1 Image page(s) exists for this entry
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End of Case Information

 

 

Case 3:17-cV-01621-RPC Document 1-1

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Case 3:17-cV-01621-RPC Document 1-1 Filed 09/11/17 Page 4 of 17

.loseph 'l`. S\l¢‘iec. Esq.
Attomey t`or§ Plnlntiff

 

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joesucee@c¢mca$.net . 5- ,_
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i= LACKAWANNA COUNTY, PENNSYLVANIA 9_"-.".:'-",1 ' §.""
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MARc-‘ARET MORGAN 5 - 5 55§§§ 1>. §§
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v. `, : §No. q 2 f 09
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.luseph 'l`. Sucec, Esq.
Atromey for Plaintil'f
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7 l‘l-J 15~23$9 7 § l

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plaintiff ; : . gyin W ' gin
v. ` : No. LQ'?'C D-_;.:'§§.§“`, ]>_ hit ,
CapitalOne FinancialCorp : ' .":»_§:o~ § 35
detendam 5 : C..lVIL AC.T10N LAvaaim m __E,,-._
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§ , JU;RY TRlALDEMANDED ‘ ' -
coMPI_,MNT 1011 'DA_MAGES
1NTR0DUC'1‘10N

i. MAiRGAREI` MORGAN {_“Plaintifl") brings this Class Action Colnp|aint f`or
damages, inittnctive relief, and any other available legal or equitable remedies, resultingi
flom t_he illegall actions ot` Capital One Financial Corp.(“Defendal1t"`), m negiigeucly,
and/or willfully contacting l_’laintifl on Plainti'l'l s cellular telephone, in violation olr the ;
‘]'clephone Consumer Proteotion Act, 47 U.S.C.`§ 227 et seq., (“TCPA”) and a state i
cause ofaction t`or invasion §ol’privacy. .l?laintiii`l" alleges as follows upon personal
knowledge as to herself andiher own acts and exporiences_. and, as to all other matters_.

upon information and belief; including investigation conducted by her attot.'n.eys.
§11111151)101101~1 AND venue
2. .1uri$diction is proper und:et‘ 42 Pa. Code 931, which grants plenary jurisdiction to the §

Court of Common Pieas, and based on Yellow `Freight Syatemsa l`nc. v. Donnel!y_, 494
US 829, 822 (1990), allowing fedea'al claims to be brought in state court where federal 5

court jurisdiction has not been made exclusive

 

r..__.._.__..________e_____________.___.._..,_.._._
Case 3:17-cV-01621-RPC Document 1-1 Filed 09/11/17 Page 6 of 17

3. Becatise Plaintit.’c` ai§:crs and alleges a state-wide class of victims of violations of the
TC`PA by Det`endant, and avers that said class meets the criteria for class actions ie|ated
in 231 Pa. Code 1700§ et seq_. (explained 111 detail 111 ensuing paragl aphs)_. jurisdiction ls

also asserted t`or the (§ourt of Common Pieas. § § §

4' Fu"h°'" Plai“tiff V‘§’““€" is Pl'OP¢r ill 1116 COurt oi"Commoa Pleas of this cotintylas §

P‘ainfin-`Pmkala Was at all times relevant, and still is, a resident o.t` leackawanna ¢01111ty,

Pe-nnsylvlnia ‘ = . §
PART]ES

5.`Plai11til’t`is, and at a§ll times mentioned herein was, a citizen and resident of the §
Commonwealth ol`Pennsylvania and, foi the puiposes of the statute purported to §be §
violated l1e1c,a“peison” as defined by 47 U. S. C. § 153 (l 0). `

6. Defendant is a corp§oration engaged in. among other entei])rise~s, collections ot alleged !
past due bills for ethel business clients with headquarters at 1680 Capital One Drive, § § l
McLean, VA, 22102- 3491, and is similarly defined as a “person. ”

FACTUAL ALLEGAT¥`ONS

7, P|aintiff is, and at :all times mentioned herein was, a “`person” as defined by 17 U.S.C.
§ 153 (10‘1. `

S. Det`endant is, and at all times mentioned herein was_. a corporation and a “person” as
defined by 17 ri.s.c. §§ 153(10) '

9. Since both parties a:re located within the Commonwea.lth of Pennsylvania_. Deteiidanfs

 

 

§W_______”_WWHH__F__

 

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relevant business in this matter was conducted within the Commonwealth as well.

10. From `Mareh l, 20§17 until the piesent Plaintiti` received numerous telephone calls on
her mobile telephone,§ each leaving a voice mail imp|oring her to return the call. }§'iacll

call was traceable to 855~437~5016_. 11 number in turn traceable to Defendant.
ll. The nature and circumstances of the call ;t`rom Dei"endant indicate that said call came
from and was generated thom an "‘automatic telephone dialing system” as defined by 47

USC 227(11)(1)

12. At no point did l>laintiff ever give permission, implied or express, to Defendaht, to

contact her mobile telephone via an automatic telephone dialing system.

13. Without such permission from Plaintiti“, Defeadant's actions are directly violative of

"`47`US`C(b`)`(])(N)(iii)`.§""`"" ` " "

14. “lhe telephone number that the l)et.`endant, or its agents, called was assigned to

Plaintii:l" via her mobi§e earrier_. .

15. This unsolicited v§oice mail message placed to Plaintift"s cellular telephone was to a
cellular telephone service fol which Plaiiitili"1nc111s a charge for incoming calls pursuant
to 47 U. S. C. § 227 (bl(.l) as detined by 47 U. S.C § 227 (b)(l)(A)(i).

16. Further, the voice §mail was not for emergency purposes as defined by the statute.

17. Det`endant acted in a false, deceptive, misleading and unl"ah manner by causing a

telephone to 1ing or engaging any person in telephone conversation repeatedly or

continuously with intent to annoy_. abuse, or hal ass any person at the called numbel.

 

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18. 'i`he .Defendant acted in a false, deceptive_. misleading and unfair manner when they

- ‘_ ,engaged:in conductivenaturel;eonsequenee _ofwhic_h: istoha_rass,;:oppres.s-,;otebnse;soch1 .- '-' 7 - - -

person in connection with the collection ot`a debt.

19. Def`endant knew or should have known that its actions violated the '.l`CPA
~ - Additiona|iy,..Defendant.oould.have taken the-steps necessary-'to..bring,.its..actionsinto
compliance with the TCPA, but neglected to do so and failed to adequately review its

actions to insure compliance with Said |aws.

' '2'()."Ata`ll`t`iines`pertinenthei‘eto,'Deféndantwas`actiiig"by and"thi‘ough‘it`s"ag`ents,`… " ` " ' " " '

servants and/or einp|oyees, who were acting within the scope and course of their

employment_. and under the direct supervision and control ol" the Det`endsnt hereinv

""21`.'At"till times pertinent hc`re`to`,"`thc` conduct`o"l`Dc'l`e't`idalit"as'v`i"'éil` tis"ils `ugehli§,"§éfvon'ts ' " "

an.dfor em_ployees, was malicious, intentional_. willfu|, reckless, negligent and in wanton

disregard for federal and state law and the rights of the PlaintiH`s herein.

22. As a result ofDefendant’s conduct, Plaintit"fs have sustained actual damages
including, but not limited to, injury to Plaintit'i"$’ reputation, invasion ot` privacy, damage
to Piaintiffs’ credit, out-o'l`-pockel expenses, physical, emotional and mental pain and
anguish and pecuniary loss and they will continue to suffer same t`or an indefinite time in

the future, all to their great detriment and loss.

... .. . ._ . _. .\ .. . . . QLA,SSAQTLQN_ALL.EQAII`QN$. . . . . . _ _.
23. Plaintit`t' brings this action on behalf of hersel't`and on behalt`ot`snd all others

similarly situated (“tlie Class”).

 

 

'__'___'__'_______'_'______”-__”"'_'_'!

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24. 'i`he elements for a class action in Pennsylvania are contained within 231 l.’a. Code
1702:

Rule 1702. Prerequisites to a Class Action.

On.e or more members ot`a class may sue or be sued as representative parties on behalf
of all members in a class action only it` '

(l) the class is so nmnerous that joinder ot` all members is impracticable;

 

(2) there are questions of law or fact common to the class;

(3) the claims or defenses of the representative parties are typical of the claims or
defenses of the ciass;

(4) the representative parties will fairly and adequately assert and protect the interests _
of the class under the criteria set forth in Ru|e 1709; and

(5) a class action provides a fair and edicient method t`or adjudication of the
controversy under the criteria set forth in Rule 1708.

25. Plainti‘t`f represents, and is a member ol"the C.iass, consisting o't` all persons within the

' ' Commonwea|th'who"received“any"unsolicited"voice"maii messages'fi‘om"Defendant;' ""'" " ‘ " " " ‘

which were not made for emergency purposes or with the recipient’s prior express

CO!‘\S€l'l f.

l 26. De'l`endant and its employees or agents are excluded from the Class. Plaintil’l:` does

not know the number of members in the C|ass_. but believes the Class members number
in the hundreds of thousands, if not more. Thus, this matter should be certified as a Ciass

action to assist in the expeditious litigation of this matter

27 . Plaintiff and members of the Class were banned by the acts of Defendant in at
illegally contacted Plaintiff and the Class members via their cellular telephones by using
an unsolicited and/or confirmatory text message thereby least the following ways:
Defendant, either directly or through its agents_. causing Plaintitf and the Class members

to incur certain cellular telephone charges or reduce cellular telephone time l`or which

 

 

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l’laintii`f" and the Ciass members previously paid, and invading the privacy of said

Plaintit?t` and the Class members PiairrtiFl` and the Ciass members were damaged thereby.

-28.~'-l-`his-suitseeks only-damages and injunctiverelief-forrecovery-of-economic-injury.... .\ . t . .

on behalf oi`the Class and it expressly is not intended to request any recovery for

personal injury and claims related thereto. Plaintit.’t` reserves the right to expand tire Class

det`rnit'ion to seek recovery on behalf of additional persons as warranted as facts are

learned in timber investigation and discovery
2.9. The joinder of the Ciass members is impractical and the disposition of their claims in

the Class action will provide substantial benefits both to the parties and to the court. The

Class can be identified through Defendant"s records or Det`endant’s agents’ records

30. T here is a well-defined community of interest in the questions of law and fact

involved'afl."eeting"th`e'partiesto"be`repfresented."’I`he"qu‘estions of`l`iiw"dnd`fact"tot'he`"" `

Class predominate over questions which may affect individual Class members, including

the foliowing:

a`) Whether, within the four years prior to the filing of this Complaint, Dei`endant

transmitted any voice mail messages tother than a voice rnaii message for emergency

_ __purposes,.or__rnade_rriththe .pri.ot,.esnrsss. consent nt.`_th¢ sal_l_sd._na_rlr`l..to__a C_lsssnt@tnhst., ,, ,, ,, t . .

using any automatic telephone dialing system to any telephone number assigned to a

cellular telephone service;
" `"t`>) the extent araaasgs§raé`sii¢a"vi'diairéi{; ah`i`r""` " ` `

c) Whether Plainti'tt` and the Class members were damaged tirereby_. and

 

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d) Wh§ether Del;`endant should be enjoined from engaging in such conduct in the t`uture.
31. As§ a person that received at least one voice mail message without Plaintift"s sprint §
express consent, Plaintitl"' is asserting claims that are typical of the interests of the Ciass§

in. that Plaintit"t`has no interests antagonistic to any member of the Class.

32.Pla§1intit`fwill fairly and adequately represent and protect t|ie Plaintifl`and the §
members ot` the Class have all suffered irreparable harm as a result of the Defendant’s

unlawful and wrongful conduct

33. lt'the C.lass is not certified for this action, the Class will continue to face the
potential t`or irreparable han§n. ln addition these violations of law will be allowed to
proceed without remedy and Defendant will likely continue such illegal conduct
Becatise of the size o.t the individual Class 1nembe1’ s claims few_. if any, Class members

could afford to seek legal ie§_i'.lress for the wrongs complained of lierein.

34 Absent a class Plainti.t`fl§ias retained counsel experienced' in handling class action

claims

35. A class action is a superior method .t`or the fair and efficient adjudication of this
contro§versy. Class-Wide damages are essential to induce Det`endant to comply with
federal and Commonwealth§law. The interest of Class members in individually
contro§lling the prosecution ot separate claims against .Defendant is small because the
maximum statutory damages in an individual action for violation ol` privacy are
ininirnal. Management of these claims is likely to present significantly fewer dit°t` entries

than those piesented' m many class claims.

36. Det`endarrt has acted on grounds generally applicable to the Ciass, thereby making

appropriate tiiial injunctive relief and corresponding declaratory relief with respect to

r_____"*”_____________~"_
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the Class ns a whole
§ coUN11 1
§ NEGLIGENT VlO§ATIONS O_F THE TELEPl-TONE CONSUMER PROTE.CT[ON
ACT ’ ‘
47 U.S.C. § 227 `ET S.EQ.

37. Plaintit`f’ incorpori_ncs by mfc-renee all previous paragraphs of this Compiain.tas _ i
though why stated herein §

38. Thc foregoing acts and omissions of Defendant constitute numerous and multipie
negligent violations of the ',I`CPA including but not limited to each and eve1y one of the

above-cited provisions of 47 U. S .C. § 227 ct seq.

1 39. As n result ochfc§:ndant’s negligent violations of 47 U S. C. § 227 et seq, Plaintifi`
end The Class are entitled to nn award of $500. 00 1n statutory danmges, for each and
every violation, p_111su11nt to 47 U. S C. §"27(1>)(.:1)(]3) `

40.Plain1.iffand the I`he Class are also entitled to and seek injunctive relief`prohihiting

such conduct m the future..

COUNT ll
I.NVASION OF PRIVACY

41 plaintiffs incorporate the foregoing paragraphs as though the same were sol forth § '

111 length herein

42. Defendant, by repeatedly contacting Plaintilfduring business hours on hel. cellular

 

telephone line invaded her p1ivacy. ;' _: '

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43. 'l`he conduct ol:` Dst`endant was a direct and proximate cause, as well as n substantial
factor, in bringing abt:)ut the serious injuries, damages and harm to Plaintili`s that are
outlined more 1`u lly below and, as a result_, De't`endant is liable to compensate the§
Plaintiffs for the full amount ot`actual, compensatory and punitive damages, as w§eil as

such other reliel", pern§“iitted under the law.

44. Plaintiff avers that the damages for the instant count fall within arbitration litnits, but

include:

PRAYER ron earlier

1111-inn 131.=0111.=., remand plays 1111 the following

a. As a result ol"Dei"endants' negligent violations of the TCPA, Plaintift` seeks 't`o'r
Plaintift` and each Class member any actual damages sustained as a result of Defendants'
behavior violative of the statute_. as well as relevant to the common law causes of action
set f:`on.'h here. Plaintil§t` estimates this total, including but not limited to lost time in

dealing with said violations_. and' 111 seeking and contacting legal counsel 1`01 the propose

ot exploring and commencing this litigation at $1 000
b. An incentive 't`ee ot`§$$,OOO.
c. Punitive damages of$l 0_.000.

d. Reasonabie attorneys lees for pursuit o'l` this matter, at the rate ot` $500 per hotir, as

follows:

 

[_'v'__'___'_'__'__’____
Case 3:17-cV-01621-RPC Document 1-1 Filed 09/11/17 Page 14 of 17

§I. Client consultation §and review a:l" tile. 2.5

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3 Service ofprocess§ol`writand complaint _ .25

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i.~`ot grand total of all damages of$i 8,]25.

e. Inju:nctive relief prohibiting such actions by Dei`endant in the future.

 

'f`. Any other relief the C.ourt may deem just and proper.

Respect;l`ully submitted,

Dae; 7114/2017 _ ,
" amstar-seal _, 1

 

Joseph T. Sucec, Esq. 4

 

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VERI_F.`{CATION STATEMENT

-' :_l verify that the statements made-' 111 the complaint are tl_ue auld correct to -the- best of 111-y- ~ -- ~
knowledge and belief Iundctstand that false statements herein are made subject to the " " " " ' " "
penalties of 18 Pa. C. S. § 4904 lelating to unsworn falsification to authorities

' Da`t`e:"‘!`-?»'l"-`l`?"` ""

aaa aaa

 

 

F…i ___q

 

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Joseph T. Sucec. Esq.
Atlorney l`or Plail'ltill"

PO Box 317
Cirantham, PA 17027
117-315-1159
joesueec@cemeast.net
l’A74482
lN '.I`l'l.E COURT OF CO_MMON PLBAS
LACKAWANNA‘COUNTY§ PBNNSYLVAN lA
MARGARET MORGAN
plaintiff . .
v. : No.
Capital One Financiai Cot]). '.
defendant : C`.IVlL ACT’lON - LAW
‘ CLASS ACT!ON
JURY ’l`R|AL DEMANDED

PRA`E`.CIPE i`O PROCEE_D lN FORMA PAUP]:"`.'RIS
PURSUAN'I` 'l`Q PFNNSYLVAN{A RUI..I:`, OF ClVlL PROC[`.DUR[` 249

To the Cierk of ll ud1c1al Recmcls:

l, .loseph 'l`. Sucec, Esq., attorney l_"or the party proceeding in fn Forma Pauperis, certify
thatl believe that the Plaintit`t` is unable to pay the costs and thatf am providing legal
services in this matter to the jl’laintii'l`at no charge to the P|aintit`t`. _Pursuant to the fee
shifting provisions of l 5 USC 1693 et seq, the defendant is responsible for any attorney
i`ees.

Respectf.`ully submitted,

Date: /7-//7 ` Q';"\;_
619€pi1 T. Sucec, _Esq.

 

 

 

 

 

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